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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA


VS.                           CASE NO. 4:07CR00049-03 JMM


MILTON JARMON


                                             ORDER

       Defendant Milton Jarmon has filed a Motion to Dismiss based upon the government’s

response to his discovery requests. The government has responded. For the reasons stated

below, the motion is denied (#145).

       Defendant is charged with eleven other defendants with drug offenses including a

conspiracy charges. In the course of his defense, defendant made a discovery request to the

government specifically asking for all Brady information. In response, the government sent

defendant two compact discs (“CDs”) title GJ-04-0058 containing recorded conversations related

to two specific telephone numbers.

       There was no index, transcript, or identification of the callers provided with the CDs.

The government subsequently, upon request, provided a list of approximately forty-one

recordings in which defendant was a participant. The government did not tell defendant where

these forty-one recordings were located on the CDs.

       Defendant contends that the government has failed in its duty to provide discovery under

Federal Rule of Criminal Procedure 16 because it has failed to provide an index of the CDs

resulting in an undue hardship on defendant as he has to listen to all conversations to locate the
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conversations involving him. The government responds that it does not have a duty to list and

transcribe every detail of recorded conversations.

       Based upon the factors set out in United States v. Pherigo, 327 F.3d 690, 694 (8th Cir.

2003) regarding sanctions, defendants motion is denied (#145). However, the government is

directed to provide defendant with location on the two CDs of the conversations which involve

defendant.

       IT IS SO ORDERED THIS 22           day of     August , 2007.




                                                      James M. Moody
                                                      United States District Judge
